Case 2:24-cv-01608-WSS   Document 37-9   Filed 02/14/25   Page 1 of 5




                     Exhibit 5
                  Case 2:24-cv-01608-WSS          Document 37-9            Filed 02/14/25   Page 2 of 5
                                 PENNSYLVANIA STATE POLICE
                                         Megan's Law Public Report
                                             Created : 1/21/2025




                                Offender Name :             DUANE ERIC YOUNGBLOOD
                                Offender Type :             Tier 3

                                Registration Start Date : 04/23/20

                                Last Updated Date :         01/19/25




           Physical Description
      Height :           5'8"                 Weight :               195

      Eyes :             BROWN                Hair :                 BLACK

      Race:              BLACK                Gender:                MALE
      Ethnicity :        NON-HISPANIC         Year of Birth :        1966
                         OR NOT LATINO

           Scars, Marks and Tattoos
--None Reported--




          Residential Address

  Address Type:            PRIMARY
  Address:                 439 PATTON ST.
                           WILMERDING                  PA   15148
  Municipality:            WILMERDING BORO
  County:                  ALLEGHENY



          Employment Address

    Address:

                       NORTH HUNTINGDON           PA   12921


    Municipality:      NORTH HUNTINGDON TWP
    County:            WESTMORELAND
                 Case 2:24-cv-01608-WSS        Document 37-9      Filed 02/14/25   Page 3 of 5
                                PENNSYLVANIA STATE POLICE
                                          Megan's Law Public Report
                                            Created : 1/21/2025




            School Address
--None Reported--

            Vehicle Information
  Vehicle                       OWNED
  Ownership:

  Year:                         2014

  Make:                         GENERAL MOTORS CORP.

   Model:                       ACADIA

   Color:                       BLUE

  Registration                  PA
  State:

   License Plate                LVZ5823
   Number:

   Vehicle Storage Locations:   ON STREET AT HOME ADDRESS


  Vehicle                       OPERATED
  Ownership:

  Year:                         2017

  Make:                         FORD

   Model:                       ESCAPE

   Color:                       GRAY

  Registration                  PA
  State:

   License Plate                LJS3218
   Number:

   Vehicle Storage Locations:   APARTMENT PARKING AREA




            Watercraft Information
 --None Reported--


            Aircraft Information
 --None Reported--
                 Case 2:24-cv-01608-WSS              Document 37-9          Filed 02/14/25       Page 4 of 5
                                    PENNSYLVANIA STATE POLICE
                                             Megan's Law Public Report
                                                 Created : 1/21/2025




           Offense Information
Sexual Offense Conviction(s) Recorded In Pennsylvania Sexual Offender Registry
                            Offense                                 Offense Date        Conviction Date       Is Victim Minor
                  3124.1 - SEXUAL ASSAULT                              11/30/02            03/03/08                 Yes
              6301 - CORRUPTION OF MINORS                              05/05/13            12/15/14                 No

* Pennsylvania law does not require the website to indicate whether the victim is or is not a minor for
offenders convicted before November 30, 2006.


Sexual Offense Conviction(s) Recorded In Pennsylvania Criminal History Repository

                            Offense                                        Offense Date                   Conviction Date
                  3124.1 - SEXUAL ASSAULT                                    10/30/02                        03/03/08


           Alias Information
            First Name                               Middle Name                                 Last Name
              DUANE                                                                            YOUNGBLOOD
                 MR                                                                            YOUNGBLOOD
                Case 2:24-cv-01608-WSS           Document 37-9       Filed 02/14/25      Page 5 of 5
                                  PENNSYLVANIA STATE POLICE
                                            Megan's Law Public Report
                                              Created : 1/21/2025




          Photo Information




    01/19/25                     08/27/24                       11/13/23




    09/02/22                     07/20/22                       04/17/22




    04/27/21
                                 02/18/21

•     Any person who uses the information contained herein to threaten, intimidate, or harass the registrant
      or their family, or who otherwise misuses this information, may be subject to criminal prosecution or
      civil liability.
•     If you have a reasonable belief that any of the information on this website is outdated or incorrect,
      please contact the Megan's Law Section of the Pennsylvania State Police toll free at
      1-866-771-3170.
